
PER CURIAM.
11 Denied. The application was not timely filed in the district court, and relator has failed to carry his burden to show that an exception applies. La.C.Cr.P. art. 930.8; State ex rel, Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189. In addition, relator’s claim is not cognizable on collateral review. See La.C,Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; see also State v. Cotton, 09-2397 (La.10/15/10), 45 So.3d 1030.
Relator has now fully litigated his application for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended La.C.Cr.P. art. 930.4 to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in state collateral proceedings in accord with La.C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless relator can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has 12exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
